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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

Criminal Case No. 21-cr-190-WJM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     THOMAS O’HARA, II,
2.     KIMBERLY KAY DICK,

       Defendants.


     ORDER GRANTING UNITED STATES’ MOTION TO QUASH SUBPOENAS TO
              TESTIFY AT DEPOSITIONS IN A CRIMINAL CASE


       The Government charges Defendant Thomas O’Hara, II with: (1) one count of

conspiracy to distribute and possess with intent to distribute 50 grams or more of

methamphetamine (actual) or 500 grams or more of a mixture or substance containing a

detectable amount of methamphetamine, a schedule II controlled substance, in violation

of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(a)(viii); (2) one count of possession with intent

to distribute 50 grams or more of methamphetamine (actual) or 500 grams or more of a

mixture or substance containing a detectable amount of methamphetamine, a schedule

II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(a)(viii); (3) one

count of possession with intent to distribute 100 grams or more of a mixture or

substance containing a detectable amount of heroin, a schedule I controlled substance,

in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(b)(i); and (4) one count of possession

with intent to distribute 40 grams or more of a mixture or substance containing a
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detectable amount of n-phenyl-n-[1(phenylethyl4piperidinyl] propanamide (fentanyl), a

schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(b)(vi).

(ECF No. 51.)

       On February 7, 2022, Defendant filed five fillable PDFs labeled “Subpoena to

Testify at a Deposition in a Criminal Case” directed to the following individuals and

entities: (1) the Office of the Sheriff; (2) Parol [sic] Officer Brook Hathaway, c/o Colorado

Department of Corrections; (3) Colorado Department of Corrections; (4) Colorado

Springs Police Department; and (5) Thomas Goodwin, c/o Colorado Springs Police

Department. (ECF Nos. 58–62.) In the Court’s electronic filing system, Defendant titled

each fillable PDF as a “Motion for Issuance of Subpoenas.” (Id.) Nonetheless, no

motion was attached to these filings. The requested subpoenas were issued on the

same day by the Clerk of Court (the “Subpoenas”).

       This matter is before the Court on the United States’ Motion to Quash

Subpoenas to Testify at Depositions in a Criminal Case (“Motion”), filed on February 15,

2022. (ECF No. 67.) Defendant responded on February 17, 2022. (ECF No. 69.) For

the reasons set forth below, the Motion is granted.

                                 I. LEGAL STANDARDS

       Under Federal Rule of Criminal Procedure 15(a),

              A party may move that a prospective witness be deposed in
              order to preserve testimony for trial. The court may grant the
              motion because of exceptional circumstances and in the
              interest of justice. If the court orders the deposition to be
              taken, it may also require the deponent to produce at the
              deposition any designated material that is not privileged,
              including any book, paper, document, record, recording, or
              data.




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       The Advisory Committee’s note to Rule 15 provides:

              Unlike the practice in civil cases in which depositions may be
              taken as a matter of right by notice without permission of the
              court . . . , this rule permits depositions to be taken only by
              order of the court, made in the exercise of discretion and on
              notice to all parties. It was contemplated that in criminal
              cases depositions would be used only in exceptional
              situations, as has been the practice heretofore.

Fed. R. Civ. P. 15 Advisory Committee’s note.

       Although Rule 15 “neither defines nor elucidates the ‘exceptional circumstances’

and ‘interest of justice’ standards,” courts generally permit a party to depose a witness

in a criminal case if: (a) the witness will be unavailable to testify at trial, (b) the testimony

is material to the moving party’s case, and (c) the testimony is necessary to avoid an

injustice. See United States v. Hajbeh, 284 F. Supp. 2d 380, 382 (E.D. Va. 2003); see

also United States v. Rothbart, 653 F.2d 462, 465 (10th Cir. 1981) (recognizing that the

filing of a motion before ordering a subpoena provides a court “an opportunity to make

the initial critical determination of whether any exceptional circumstances existed that

would justify the taking of the deposition”).

                                        II. ANALYSIS

       The Government argues that the Court should quash the Subpoenas because

Defendant never filed a motion as required by Rule 15. (ECF No. 67 at 7.) It further

contends that the Custodian of Records for Colorado Springs Police Department, the El

Paso County Sheriff’s Office, the Colorado Department of Corrections, and Brook

Hathaway are not prospective witnesses at trial in this case, that there is no suggestion

that these individuals and entities will be unavailable at trial, and that Defendant has

failed to show that their trial testimony must be preserved to avoid an injustice. (ECF



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No. 67 at 9.) With regard to Thomas Goodwin, the Government represents that as far

as it knows, Goodwin will be available to testify at trial and that there is therefore no

corresponding need to preserve his testimony for trial. (Id.)

       The Government further argues, inter alia, that Defendant is improperly

attempting to use the Subpoenas “as an end run around the criminal discovery process”

and that “[i]f [Defendant’s] practice is permitted, criminal defendants and their attorneys

will be able to directly enlist any police officer, agent, or member of police records

administration in gathering documents for them without any meaningful controls from

prosecuting attorneys or courts.” (Id. at 10–11.)

       Defendant responds that the Subpoenas are “Records Depositions,” from which

he is “merely seeking exculpatory information—including information essential for a

Franks Motion, that the Government has indicated it does not have.” (ECF No. 69 at 2.)

He states there is no “deposition” being sought. 1 (Id.) Additionally, as he explains in his

response, the evidence he anticipates that he will obtain from the Subpoenas furthers

his defense. (Id. at 3–9.)

       After carefully reviewing the parties’ briefs and exhibits, the Court concludes that

Defendant has failed to demonstrate exceptional circumstances that warrant taking

depositions pursuant to Rule 15. 2 Notably, Defendant does not even attempt to argue

that he has complied with the requirements of Rule 15, and it is clear that he did not.

(See generally ECF No. 69.) To the extent that Defendant believes he is entitled to


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          Given that defense counsel has issued several “Subpoena[s] to Testify at a Deposition
in a Criminal Case,” this contention borders on the non-sensical.
       2
         To the extent that Defendant argues the Subpoenas are merely “Records Depositions,”
he cites no case law demonstrating that “Records Depositions” need not comply with Rule 15
(see ECF No. 69), and the Court is unaware of any such law.

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additional evidence in the Government’s possession, he may file a motion to compel the

disclosure of such evidence. He may not, however, “use . . . depositions of adverse

witnesses as discovery tools” in his criminal case. See United States v. Carrigan, 804

F.2d 599, 602 (10th Cir. 1986); United States v. Adcock, 558 F.2d 397, 406 (8th Cir.

1977) (recognizing that Rule 15’s “principal objective is the preservation of evidence for

use at trial” and “not to provide a method of pretrial discovery”).

       The Court therefore finds that the Subpoenas issued for witnesses or

organizations to testify at depositions in this case must be quashed. Accordingly, the

Court grants the Motion.

                                     III. CONCLUSION

       For the reasons set forth above, the Court ORDERS as follows:

       1.     The United States’ Motion to Quash Subpoenas to Testify at Depositions

in a Criminal Case (ECF No. 67) is GRANTED; and

       2.     All the Subpoenas to Testify at a Deposition in A Criminal Case, issued by

the Clerk in this case on February 7, 2022, are hereby QUASHED.


       Dated this 18th day of February, 2022.

                                                  BY THE COURT:



                                                  __________________________
                                                  William J. Martínez
                                                  United States District Judge




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